

Matter of Freedman (2019 NY Slip Op 07683)





Matter of Freedman


2019 NY Slip Op 07683


Decided on October 24, 2019


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 24, 2019

PM-172-19

[*1]In the Matter of Stuart J. Freedman, an Attorney. (Attorney Registration No. 1777903)

Calendar Date: October 21, 2019

Before: Clark, J.P., Mulvey, Devine and Aarons, JJ.


Stuart J. Freedman, Fairfield, New Jersey, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Stuart J. Freedman was admitted to practice by this Court in 1982 and lists a business address in Bridgewater, New Jersey with the Office of Court Administration. Freedman now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Freedman's application.
Upon reading Freedman's affidavit sworn to July 25, 2019 and filed July 29, 2019, and upon reading the October 17, 2019 correspondence in response by the Chief Attorney for AGC, and having determined that Freedman is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.Clark, J.P., Mulvey, Devine and Aarons, JJ., concur.
ORDERED that Stuart J. Freedman's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is furtherORDERED that Stuart J. Freedman's name is hereby stricken from the roll
of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is furtherORDERED that Stuart J. Freedman
is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Freedman is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is furtherORDERED that Stuart J. Freedman
shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








